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                 UNITED STATES DISTRICT COURT

                 SOUTHERN DISTRICT OF GEORGIA

                       STATE SBORO DIVISION
MARTELL ANTWON MINGO,

     Movant,

V.                                          Case No. CV614-099
                                                     CRG12-018
UNITED STATES OF AMERICA,

     Respondent.

                 REPORT AND RECOMMENDATION

     Martell Antwon Mingo's unopposed motion to dismiss his 28 U.S.C.

§ 2255 motion should be GRANTED. CR612-018, doe. 1080. As both

parties agree to this result, the Clerk is DIRECTED to immediately

submit this Report and Recommendation to the assigned district judge,

and the January 15, 2015 evidentiary hearing is cancelled.

     SO REPORTED AND RECOMMENDED this 12th day of

January, 2015.


                                    UNITED STATES MAGISTRATE JuDGE
                                    SOUTHERN DISTRICT OF GEORGIA
